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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                   NO. 4:06CR00218-01 JLH

ELIAS C. RHODES


                                              ORDER

       Elias Rhodes has filed a motion for severance in which he asserts that a joint trial with his

co-defendant would prejudice him and deprive him of a fair and impartial trial. He alleges, in

conclusory fashion, that the jury would be unable to compartmentalize the evidence against him as

distinguished from the other defendant and that the trial will involve overt acts other than those with

which he was involved. He further says that he and the co-defendant may have mutually inconsistent

defenses.

       The Eighth Circuit summarized the law pertaining to severance of criminal defendants for

trial in United States v. Hively, 437 F.3d 752, 765 (8th Cir. 2006):

       Where two or more defendants have been charged in the same indictment, there is a
       preference for a joint trial unless the benefits are outweighed by a clear likelihood of
       prejudice. Zafiro v. United States, 506 U.S. 534, 537, 113 S. Ct. 933, 122 L. Ed. 2d
       317 (1993). Prejudice can be demonstrated by showing that the jury will be unable
       to compartmentalize the evidence as it relates to the separate defendants because of
       a “prejudicial spillover effect.” United States v. Mickelson, 378 F.3d 810, 817 (8th
       Cir. 2004); United States v. Lueth, 807 F.2d 719, 731 (8th Cir. 1986). The burden
       of showing a clear likelihood of prejudice falls on the party seeking severance.
       United States v. Frazier, 280 F.3d 835, 844 (8th Cir. 2002).

       Trying codefendants together not only conserves scarce time and resources, but also
       “gives the jury the best perspective on all of the evidence and therefore increases the
       likelihood of a correct outcome.” [United States v. Darden, 70 F.3d 1507, 1528 (8th
       Cir. 1995)] (internal quotations omitted). Severance is never warranted simply
       because the evidence against one defendant is more damaging than that against
       another, United States v. Pecina, 956 F.2d 186, 188 (8th Cir. 1992), even if the
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       likelihood of the latter’s acquittal is thereby decreased. See United States v. Gravatt,
       280 F.3d 1189, 1191 (8th Cir. 2002). What is required for a severance is a specific
       showing that a jury could not reasonably be expected to compartmentalize the
       evidence. Lueth, 807 F.2d at 731.

       In Zafiro v. United States, 506 U.S. 534, 539, 113 S. Ct. 933, 938, 122 L. Ed. 2d 317 (1993),

the Court stated:

       We believe that, when defendants properly have been joined under Rule 8(b), a
       district court should grant a severance under Rule 14 only if there is a serious risk
       that a joint trial would compromise a specific trial right of one of the defendants, or
       prevent the jury from making a reliable judgment about guilt or innocence. Such a
       risk might occur when evidence that the jury should not consider against a defendant
       and that would not be admissible if a defendant were tried alone is admitted against
       a codefendant. For example, evidence of a codefendant’s wrongdoing in some
       circumstances erroneously could lead a jury to conclude that a defendant was guilty.
       When many defendants are tried together in a complex case and they have markedly
       different degrees of culpability, this risk of prejudice is heightened. [Citation
       omitted.] Evidence that is probative of a defendant’s guilt but technically admissible
       only against a codefendant also might present a risk of prejudice. [Citation omitted.]
       Conversely, a defendant might suffer prejudice if the central exculpatory evidence
       that would be available to a defendant tried alone were unavailable in a joint trial.
       [Citations omitted.] The risk of prejudice will vary with the facts in each case, and
       the district court may find prejudice in situations not discussed here. When the risk
       of prejudice is high, a district court is more likely to determine that separate trials are
       necessary, but . . . less drastic reasons, such as limiting instructions, often will suffice
       to cure any risk of prejudice.

       Following the standards articulated in Hively and Zafiro, the Court does not believe that

Rhodes has met his burden of showing a clear likelihood of prejudice. Therefore, the motion for

severance is DENIED. Document #81.

       IT IS SO ORDERED this 28th day of April, 2008.




                                                         J. LEON HOLMES
                                                         UNITED STATES DISTRICT JUDGE



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